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           EXHIBITS - D 1
                 2:19-cv-03456-BHH                              Date Filed 06/04/21                 Entry Number 87-1     Page 2 of 43
CARRINGTON
P. 0. Box 3549                                                                                                                       EXHIBIT· D 1
Anaheim, CA 92803




       0 0 0 0 61 0         0 1 MB 0.420 *'AUTO T3 0 9186 29483-938699             -C04-P006 10-I
       NELSON L BRUCE
       1605 Central Ave
       Suite 6 #167

II     Summerville SC 29483-9386
                                                                                                           Property Address:
                                                                                                           144 PAVILION STREET
                                                                                                           SUMMERVILLE, SC 29483


       •11 11• 1111 •11 111 1•t•l 11111 11 11l••ll 111•1 1111l1111111 111 11ll11 1111
                                                                                                           Loan Number: 7000124554



04/10/2017

                                                         Notice of Sale of Ownership of Mortgage Loan

Under federal law, borrowers are required to be notified in writing whenever ownership of a mortgage loan secured by
their principal dwelling is sold, transferred or assigned (collectively, "sold") to a new creditor. This Notice is to inform you
that your prior creditor has sold your mortgage loan (see loan information below) to the new creditor identified below.

**NOTE: The new creditor is not the servicer of your loan. The servicer (identified below) acts on behalf of the
new creditor to handle the ongoing administration of your-loan, including the collection of mortgage payments.
Please continue to send your mortgage payments as directed by the servicer, and NOT to the new creditor.
Payments sent to the new creditor instead of the servicer may result in late charges on your loan and your
account becoming past due. Neither the new creditor nor the servicer is responsible for late charges or other
consequences of any misdirected payment.

SHOULD YOU HAVE ANY QUESTIONS REGARDING YOUR LOAN, PLEASE CONTACT THE SERVICER USING
THE CONTACT INFORMATION SET FORTH BELOW. The servicer is authorized to handle routi ne inquiries and
requests regarding your loan and, if necessary, to inform the new creditor of your request and communicate to
you any decision with respect to such request.

Please note that the sale of your loan to us may also result in a change of servicer. If this occurs, you will receive a
separate notice, required under federal law, providing information regarding the new servicer.


                     LOAN INFORMATION

                    Date of Loan: 03/30/2009
                    Original Amount of Loan: $161,385.00
                    Date Your Loan was Sold to the New Creditor: 03/13/2017
                    Prior Loan Number: 202985786
                    Current Loan Number: 7000124554
                    Address of Mortgaged Property: 144 PAVILION STREET
                                                    SUMMERVILLE, SC 29483




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                  SERVICER INFORMATION

                  Name: Carrington Mortgage Services, LLC
                  Mailing Address: P .0. Box 5001, Westfield, IN 4607 4
                  Telephone Number (Toll free): 877-267-1221
                  Website: https://carringtonms.com

                   Scope of responsibilities: The servicer is responsible for all ongoing administration of your
                   loan, including receipt and processing of payments, resolution of payment-related issues,                    ~
                   and response to any other inquiries you may have regarding you r loan .


                   NEW CREDITOR INFORMATION

                  Please be advised that all questions involving the administration of your loan
                  {including questions related to payments, deferrals, modifications or foreclosures)
                  should be directed to the servicer at the number above and/or the agent (if any) of
                  the new creditor identified below, and not to the new creditor. The new creditor
                  does not have access to information relating to the administration of your loan, and
                  will not be able to answer most loan-related questions.


                   Name: Wilmington Savings Fund Society FSB as trustee of Stanwich Mortgage Loan
                   Trust C
                   Mailing Address (not for payments): 1600 South Douglass Road
                                                       Suite 200-8
                                                       Anaheim, CA 92806
                   Telephone Number: 877-267-1221

                   Scope of responsibilities: As new creditor, the above-named trust holds legal title to your
                   loan. The trustee, on behalf of the new creditor, is authorized to receive legal notices and
                   to exercise (or cause an agent on its behalf to exercise) certain rights of ownership with
                   respect to your loan .



The transfer of the lien associated with your loan is, or in the future may be , recorded in the public records of the local
County Recorder's office for the county or local jurisdiction where your property is located. If checked 181 ownership of
your loan is also recorded on the registry of the Mortgage Electronic Reg istrations System at 1818 Library Street, Suite
300, Reston, VA 20190.

Our rights and obligations as new creditor, and consequently our authority to respond favorably to your requests or
inquiries may be limited by the terms of one or more contracts related to the securitization of your loan.

Partial Payment:
Your lender:

D may accept payments that are less than the full amount due ("partial payments") and apply partial payments to your
loan.

~ may hold partial payments in a separate account until you pay the remainder of the payment and then apply the full
periodic payment to your loan.

D does not accept partial payments.
If this loan is sold to a new lender, your new lender may have a different payment policy.


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                                               IMPORTANT DISCLOSURES                                           EXHIBIT-DI



-VERBAL INQUIRIES & COMPLAINTS-
For verbal inquiries and complaints about your mortgage loan, please contact the CUSTOMER SERVICE
DEPARTMENT for Carrington Mortgage Services, LLC, by calling 1-800-561-4567. The CUSTOMER SERVICE
DEPARTMENT for Carrington Mortgage Services, LLC is toll free and you may call from 8:00 a.m. to 8:00 p.m . Eastern
Time, Monday through Friday. You may also visit our website at https://carringtonms.com/.

-IMPORTANT BANKRUPTCY NOTICE-
If you have been discharged from personal liability on the mortgage because of bankruptcy proceedings and have not
reaffirmed the mortgage, or if you are the subject of a pending bankruptcy proceeding, this letter is not an attempt to
collect a debt from you but merely provides informational notice regarding the status of the loan. If you are represented
by an attorney with respect to your mortgage, please forward this document to your attorney.

-CREDIT REPORTING-
We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults
on your account may be reflected in your credit report. As required by law, you are hereby notified that a negative
credit report reflecting on your credit record may be submitted to a credit reporting agency if you fail to fulfill the terms
of your credit obligations.

-MINI MIRANDA-
This communication is from a debt collector and it is for the purpose of collecting a debt and any information obtained
will be used for that purpose. This notice is required by the provisions of the Fair Debt Collection Practices Act and
does not imply that we are attempting to collect money from anyone who has discharged the debt under the bankruptcy
laws of the United States.

-HUD COUNSELOR INFORMATION-
If you would like counseling or assistance, you may obtain a list of HUD-approved homeownership counselors or
counseling organizations in your area by calling the HUD nationwide toll-free telephone number at (800) 569-4287 or
toll-free TDD (800) 877-8339, or by going to http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm. You can also contact the
CFPB at (8"55) 411-2372, ofl5y going o www.consumerfinance.gov/find-a-housTng-counselor.

-EQUAL CREDIT OPPORTUNITY ACT NOTICE-
The Federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis
of race, color, religion, national origin, sex, marital status, or age (provided the applicant has the capacity to enter into a
binding contract); because all or part of the applicant's income derives from any public assistance program; or because
the applicant has, in good faith, exercised any right under the Consumer Credit Protection Act. The Federal Agency that
administers CMS' compliance with this law is the Federal Trade Commission, Equal Credit Opportunity, Washington,
DC 20580.

-SCRA DISCLOSURE-
MILITARY PERSONNEUSERVICEMEMBERS: If you or your spouse is a member of the military, please contact us
immediately. The federal Servicemembers Civil Relief Act and comparable state laws afford significant protections and
benefits to eligible military service personnel , including protections from foreclosure as well as interest rate relief. For
additional information and to determine eligibility please contact our Military Assistance Team toll free at
(888) 267-5474.

-NOTICES OF ERROR AND INFORMATION REQUESTS, QUALIFIED WRITTEN REQUESTS (QWR)-
Written complaints and inquiries classified as Notices of Error and Information Requests or QWRs must be submitted
to Carrington Mortgage Services, LLC by fax to 800-486-5134, or in writing to Carrington Mortgage Services, LLC , and
Attention: Customer Service, P.O. Box 5001, Westfield, IN 46074. Please include your loan number on all pages of
the correspondence. You have the right to request documents we relied upon in reaching our determination. You may
request such documents or receive further assistance by contacting the CUSTOMER SERVICE DEPARTMENT for
Carrington Mortgage Services, LLC toll free at (800) 561 -4567, Monday through Friday, 8:00 a.m. to 8:00 p.m. Eastern
Time. You may also visit our website at https://carringtonms.com/.




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   ~RINGTON                .I IOHT (;,11 ;1,; SElll'll'liS
                                                                                                                                              EXHIBI T -D 2
=>• . Box 5001
  estfield, IN 46074




       0000 557     02 MB 0.420 "AUTO                  5 0 9211 29483-938699       -C04- P00000-1
       NELSON L BRUCE
       1605 Central Ave
       Suite 6 #167                                                                                                 Property Address:
       Summerville SC 29483-9386
                                                                                                                    144 PAVILION STREET
                                                                                                                    SUMMERVILLE, SC 29483


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                                                                                                                    Loan Number: 7000124554



05/10/2017


                                                                   NOTICE OF SERVICING TRANSFER


Re: Carrington Mortgage Services Loan#: 7000124554
    Bank of America N.A. Loan #: 202985786



Dear Customer(s) :


The servicing of your mortgage loan is being transferred, effective 05/02/2017. This means that after this date ,
Carrington Mortgage Services, LLC ("CMS") will be collecting your mortgage loan payments from you . Nothing else about
your mortgage loan will change.

Bank of America N.A. is now collecting your payments. Bank of America N.A. will stop accepting payments received from
you after 05/01/2017.

CMS will collect your payments going forward . CMS will start accepting payments received from you on 05/02/2017.

Send all payments due on or after 05/02/2017 to CMS at this address: Carrington Mortgage Services, LLC, P.0.
Box 79001, Phoenix, AZ 85062. Please include your new CMS loan number as specified at the top of this letter on your
check and all future correspondence.

If you have any questions for either your present servicer, Bank of America N.A. or your new servicer, CMS, about your
mortgage loan or this transfer, please contact them using the information below:

    Current Servicer:                                                                               New Servicer:

    Bank of America N.A.                                                                            Carrington Mortgage Services, LLC
    Customer Service Department                                                                     Attention : Customer Service Department
    800-669-6607                                                                                    877-267-1221
    Customer Service Correspondence                                                                 P.O. Box 5001
    P.O. Box 31785                                                                                  Westfield , IN 46074
    Tampa, FL 33631-3785




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                       SERVI CE DEPARTMENT for CMS is toll free and you may call from 7am to 5pm PST Monday-
                   ay also visit our website at https://carringtonms.com.

I you have been including premiums for life, disability, accidental death , or any other type of optional insurance, this
coverag e wi ll be discontinued. You should contact the provider of the optional insurance or other membership product
directl y regarding continued availability or for alternative options.

Under Federal law, during the 60-day period following the effective date of the transfer of the loan servicing , a loan
payment received by Bank of America N.A. on or before its due date may not be treated by CMS as late , and a late fee
may not be imposed on you.

If your monthly payment is being electronically drawn from your checking or savings account by Bank of America N.A.,
this process will be discontinued in connection with the servicing transfer. Please visit our website at
https://carringtonms.com, or contact one of our Customer Service Representatives, toll-free, at 877-267-1221, for
available payment options.

Effective as of the servicing transfer date, you will be subject to the enclosed privacy policies of CMS and you may
also obtain a copy of the privacy notice by visiting our website at https://carringtonms.com .

It is our pleasure to welcome you as one of our mortgage customers. CMS places a high level of importance on quality
customer service and we are confident that we will provide the world class service to which you are accustomed .




Sincerely,


Loan Servicing Department
Carrington Mortgage Services, LLC

Note: See Debt Validation Attachment.




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                                                                                                                  EX IIIBIT- D 2
                                                         NOTICE
                                       Pursuant to Fair Debt Collection Practices Act
                                              15 U.S.C Section 1692, et seq.

CMS Loan #: 7000124554
Current Creditor: Wilmington Savings Fund Society FSB as trustee of Stanwich Mortgage Loan Trust C
Current Servicer: Carrington Mortgage Services, LLC (CMS)


Dear Borrower:

This Notice is to remind you that you owe a debt. As of the date of this Notice , the amount of the debt you owe is
$189,539 .88 .


In addition , we would like to advise you that you have th irty (30) days after receipt of this Notice to dispute the validity
of the above debt, or any portion thereof, and if you do not do so, we will assume the debt is valid . If you notify us in
writing within this thirty (30) day period that you dispute the debt, or any portion thereof, we will obtain verification of
the debt or a copy of a judgment against you and a copy of such verification or judgment will be mailed to you by us.

Upon your written request within thirty (30) days after receipt of this Notice, we will provide you with the name and
address of your original creditor, if different from your current creditor.

If you have any questions concerning this loan, please call our toll free number at 877-267-1221. Our office hours are
from Monday through Friday 8:00 a.m. to 8:00 p.m. Eastern Time.


YOU HAVE THE RIGHT TO MAKE A WRITTEN REQUEST TO CMS TO CEASE FURTHER COMMUNICATION
WITH YOU. A WRITTEN REQUEST TO CEASE COMMUNICATION WILL NOT PROHIBIT CMS FROM TAKING
ANY OTHER ACTION AUTHORIZED BY LAW TO COLLECT THE DEBT.




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                                                                                                                EXHIBIT- D 2
                                               IMPORTANT DISCLOSURES


-VERBAL INQUIRIES & COMPLAINTS-
For verbal inquiries and complaints about your mortgage loan, please contact the CUSTOMER SERVICE
DEPARTMENT for Carrington Mortgage Services, LLC, by calling 1-800-561-4567. The CUSTOMER SERVICE
DEPARTMENT for Carrington Mortgage Services, LLC is toll free and you may call from 8:00 a.m. to 8:00 p.m. Eastern
Time, Monday through Friday. You may also visit our website at https://carringtonms.com/.

-IMPORTANT BANKRUPTCY NOTICE-
If you have been discharged from personal liability on the mortgage because of bankruptcy proceedings and have not
reaffirmed the mortgage , or if you are the subject of a pending bankruptcy proceeding , this letter is not an attempt to
collect a debt from you but merely provides informational notice regarding the status of the loan. If you are represented
by an attorney with respect to your mortgage, please forward this document to your attorney.

-CREDIT REPORTING-
We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults
on your account may be reflected in your credit report. As required by law, you are hereby notified that a negative
credit report reflecting on your credit record may be submitted to a credit reporting agency if you fail to fulfill the terms
of your credit obligations.

-MINI MIRANDA-
This communication is from a debt collector and it is for the purpose of collecting a debt and any information obtained
will be used for that purpose. This notice is required by the provisions of the Fair Debt Collection Practices Act and
does not imply that we are attempting to collect money from anyone who has discharged the debt under the bankruptcy
laws of the United States.

-HUD COUNSELOR INFORMATION-
If you would like counseling or assistance, you may obtain a list of HUD-approved homeownership counselors or
counseling organizations in your area by calling the HUD nationwide toll-free telephone number at (800) 569-4287 or
toll-free TDD (800) 877-8339, or by going to http://www.hud .gov/offices/hsg/sfh/hcc/hcs.cfm . You can also contact the
CFPB at (855) 411-2372 , or by going to www.consumerfinance .gov/find-a-housing-counselor.

-EQUAL CREDIT OPPORTUNITY ACT NOTICE-
The Federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis
of race, color, religion, national origin, sex, marital status, or age (provided the applicant has the capacity to enter into a
binding contract); because all or part of the applicant's income derives from any public assistance program; or because
the applicant has, in good faith, exercised any right under the Consumer Credit Protection Act. The Federal Agency that
administers CMS' compliance with this law is the Federal Trade Commission, Equal Credit Opportunity, Wash ington ,
DC 20580.

-SCRA DISCLOSURE-
MILITARY PERSONNEL/SERVICEMEMBERS: If you or your spouse is a member of the military, please contact us
immediately. The federal Servicemembers Civil Relief Act and comparable state laws afford sign ificant protections and
benefits to eligible military service personnel, including protections from foreclosure as well as interest rate relief. For
additional information and to determine eligibility please contact our Military Assistance Team toll free at
(888) 267-5474 .

-NOTICES OF ERROR AND INFORMATION REQUESTS, QUALIFIED WRITTEN REQUESTS (QWR)-
Written compla ints and inquiries classified as Notices of Error and Information Requests or QWRs must be submitted
to Carrington Mortgage Services, LLC by fax to 800-486-5134, or in writing to Carrington Mortgage Services, LLC , and
Attention : Customer Service , P.O. Box 5001, Westfield, IN 46074 . Please include your loan number on all pages of
the correspondence . You have the right to request documents we relied upon in reaching our determination . You may
request such documents or receive further assistance by contacting the CUSTOMER SERVICE DEPARTMENT for
Carrington Mortgage Services, LLC toll free at (800) 561-4567, Monday through Friday, 8:00 a.m. to 8:00 p. m. Eastern
Time. You may also visit our website at https://carringtonms.com/.




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                                                                      Carrington Mortgage Services, LLC
   .-IBRINGTON            I I O llT(i ,\( i l·: SE ll\' I C l•: s     Quick Reference            I EXHIBIT- 02
     Box 5001
' es fi eld, IN 46074
                                                                      Customer Self Help

Carrington Mortgage Services Loan Number:                                                           1000124554

Important Information:

Welcome to Carrington Mortgage Services, LLC. We look forward to servicing your mortgage loan with our expert Loan
Servicing Specialists.

Steps to Make an Automated Phone Payment - Fee: $5.00, unless prohibited by applicable
law.


    1.     Dial Toll Free Number: (800) 561-4567.
    2.     Enter "Option 2" (for assistance with your account).
    3.     When prompted, enter Loan Number, then enter the last four digits of your Social Security Number.
    4.     To make a payment by phone press "Option 1•.
    5.     To make an Automated Payment by Phone and incur a $5.00 fee, press "1 ".
    6.     When prompted, enter Loan Number, then enter the last four numbers of the primary borrower's Social
           Security Number.
    7.     When prompted, enter Routing Number and Checking Account Number.
    8.     Confirm payments by following the automated prompt.

Payments submitted after 11 :00 PM Eastern Time/8:00 PM Pacific Time or on a Sunday will be processed the
next business day.

All payments submitted on a Sunday (even if submitted on the last day of the month) will post the following
business day.

Steps to Make a Web Payment - Fee: $0.00

    1.     Enter the following web address in your internet browser: https://carringtonms.com
    2.     If you have not created an on line account please select "Sign Up" under New User.
              a. You will be required to agree to the Terms and Conditions of the website.
              b. Please have your Loan Number and Social Security Number available to establish your online account.
              c. You will be required to create a user name and password.
    3.     Once online, click "Make a Payment" to make your monthly mortgage payment via our secured website .
              a. Payment Options: Checking or Savings Account (No debit/credit cards or money market accounts).
    4.     You will be prompted to agree to the Terms and Conditions of the Western Union Payment System for
           Carrington Mortgage Services, LLC .
    5.     You will need to provide the following information:
              a. Email Address
              b. Select Checking or Savings Account Radial Button
              c. Routing Number
              d. Banking Account Number
              e. (Optional) Select whether to conveniently store your account information for your next scheduled payment.
    6.     Click "Continue".
              a. Validate Routing and Banking Account Numbers.
              b. Submit payment.

Payments submitted after 11 :00 PM, Eastern Time/ 8:00 PM Pacific Time or on a Sunday will be processed the
next business day.




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All payments submitted on a Sunday (even if submitted on the last day of the month) will post the following
business day.




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Trans Union                                                                     https: //on Iined ispute. trans uni on. com/oda/od ic/search Investi gati o n/reso Iu...
                                                                                                                                             EXHIBIT - D 3




          TransUnion.
                   @)               I   On lin e Disp ute Service




          Credit Report
                                                                                                                Curr ent File
          Please review the details of t he reso lution to your request for investigation or change
          of information.
                                                                                                                File Number:
          To view your revised credit report based on the resolution, click the Credit Report tab.              334959402
          If you purchased your TransUnion Personal Credit Score originally , t he credit score
          may be updated depending on the resolution. To see t he updated score. click the                      Report Date :
          Credit Score tab (it will not be available if you did not purchase your Tran sUnion
                                                                                                                01/04/2018
          Personal Credit Score originally). To learn your consumer rights , click the Summary of
          Rights ta b. To learn how to protect yourself against credit fraud. click the Fraud                   Nam e :
          Prevention tab.
                                                                                                                NELSON L. BRUCE
          NOTE: Your credit report has been revised based on your investigation request. If
          you are not satisfied with the resolution and/or the changes, please print and                        Address:
          complete a Request for Investigation form and return it by mail together with any
          supporting documentation. You may also add a consumer statement of 100 words or
          less to your credit report. If you provide a consumer statement that contains
          medical information related to service providers or medical procedures, then you
          expressly consent to TransUnion including this information in every credit report we
          issue about you.

          Credit File Details

          PERSONAL I NFORMATION




          Names Aepoct ed, NELSON L BRUCE and NELSON BRUCE




          A DDRESSES REPORTED




1 of 19                                                                                                                                          1/5/2018. 11 :47 PM
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                                                                                                                                                                              EXHIBIT-D 3
          PUBLIC RECORDS


          You may be required to explain these items co potential creditors. Generally. th is information was collected from public record sources by TransUnion or a company we hired
          to collect such information. If you submit a d ispute of the accur acy of a public record item. TransUnion may update the item based on the in fo rmatio n you prov ide, o r we may
          investigate your dispute by checking with the public record source or by asking our vendor to verify that the current status of the public record is repo rted accurately.
          Dismissed Chapter 13 bankruptcy remains on you r file for up to 10 years.




          ACCOUNT INFORMATION

          Typically. creditors report any c hanges made to your account information monthly. This means that some accounts listed below may not re flect the most recent ac tivity un t il
          the creditor's next reporting. This information may include things such as balances. payments, dates. remarks, ratings. etc. The Key{s) below are provided to help you
          understa nd some of the account information that could be reported.
          Rating Key:

          Some c reditors report the t ime liness of yo ur payments each month in relation to your agreemen t with them. The ratings in t he key below describe the payments that may be
          reported by your creditors. Please note: Some but not all of th ese ratings may be present in you r credit report


          H/R       Not Reported                            30          30 days late                  120       120• days late                      RPO        Repossession

          X         Unknown                                 60          60 days late                  COL       Collection                          C/0        Ch ar ge Off

          OK        Current                                 90          90 days late                  VS        Volun tary Surrender                FC         Foreclos ure


          Remarks Key:

          Add itionally. some creditors may notate your acco unt with comments each month. We refer to t hese creditor comments as 'Remarks '. The key below gives the descriptions of
          the abbreviated remarks contained in your credit fi le. Any remark containing brackets > < ind icates t hat t his remark is considered adverse.

          CBC        ACCOUNT CLOS ED BY CONSUMER




          ADVERSE ACCOUNTS


          BAC HOME LOANS SERV LP #20298" 0 . .
          4909 SAVARESE CIRCLE.Fll-908-01-47
          Tampa. FL 33634
          (800) 669-6607                                                                                                                                                                        ..
          Date Opened:                                       Responsibility:                          Account Type:                                 Loan Type:
          03/30/2009                                         Individual Account                       Mortgage Account                              FHA REAL ESTATE MORTGAGE
          Balance:                                           Date Updated:                            Last Payment Made:                            High Balance:
          $0                                                 05/01/2017                               07/06/2015                                    $161,385
          Pay Status:                                        Terms:                                   Date Closed :
          >Account 120 Days Past Due Date<                   $1,081 per month. paid Monthly for 396   05/01/2017
                                                             mon t hs



          Remark: Maximum Delinquency of 120 days in 03/2011 and in 05/2017
          Estimated month and year that this item will be removed: 07/2022




2 of 19                                                                                                                                                                            I /5/20 I 8. 11:47 PM
                         2:19-cv-03456-BHH          Date Filed 06/04/21            Entry Number 87-1                      Page 18 of 43
Trans Union                                                                  https://o nl inedispute.trans union.com/oda/odic/search ln vestigatio n/reso lu ...

                                                                                                                                          EXHIBIT - D 3

                                                                                                                                                     .,
                                04/2017   03/2017      02/2017     01/2017        12/2016       11/2016       10/ 2016       09/2016


               Rating
                                   X         X            X          120             X             X              X              X




                                08/2016   07/2016      06/2016     05/2016        04 / 2016     03/2016       02/2016        01/2016


               Rating
                                   X         X            X          120              X            X              X              X




                                12/2015   11/2015      10/2015     09/2015        08/2015       07/2015       06/2015        05/2015


               Rating                                                                                                           OK
                                   X         X            X          30              OK            OK            OK




                                04/2015   03/2015      02/2015     01/2015        12/2014       11/2014       10/ 2014       09/2014


               Ra ting                                                                                           OK             OK
                                  OK        OK           OK          OK              OK            OK




                                08/2014   07/2014      06/2014     05/2014        04/2014       03/2014        0 2/2014      01/2014


               Rating
                                  OK        OK           OK          OK              OK            OK            OK              OK




                                12/2013   11/2013      10/2013     09/2013        08/2013       07/2013        06/2013       05 / 2013


               Rating
                                  OK        OK           OK          OK              OK            OK            OK              OK




                                04/2013   03/2013      02 / 2013   01/2013        12/2012       11/2012        10/ 2012       09 / 2012


               Rati ng
                                  OK        OK           120         120             120           120           120            120




         ,._                    08/2012   07/2012      06/2012     05/2012        04/2012        03/2012       02/2012        01/2012


               Rating
                                  120       120          120         120             120           120           120            120
    ,.

                                12/2011   11/2011      10/2011     09/2011        08/2011        07/2011       06/2011        05 / 2011


               Rating
                                  120       120          120         120             120            X            120             120




                                04/2011   03/2011      02 /2011    01/2011        12/2010


               Rating
                                  120       120           90          60             30




3 of 19                                                                                                                                      I /5/20 18, 11 :47 PM
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Trans Union                                                                                                   https: //o nlinedispute.transunion .com/oda/odic/searchlnvestigation/resolu ...

                                                                                                                                                                           EXHIBIT-D 3




          CARRINGTON MORTGAGE SERVICES #700012" . ..
          2201 EAST 196TH STREET
          WESTFIELD. IN 46074
          (800) 561-4561



          Date Opened :                                       Responsibility:                                 Account Type:                             Loan Type:
          03/30/2009                                         Individual Account                               Mortgage Account                          FHA REAL ESTATE MORTGAGE
          Balance:                                            Date Updated:                                   Last Payment Made:                        High Balance:
          $196,389                                           11/30/2017                                       07/01/2015                                $161.385
          Past Due:                                           Pay Status:                                     Terms:
          >$34,538<                                           >Ac coun t 120 Days Past Due Date <             $1.081 per mont h, paid Monthly for 408
                                                                                                              months




          Remark: Maximum Delinquency of 120 days in 08/2017 and in 11/2017 for $34 ,538
          Estimated month and year that this item will be removed: 07 /2022



                                            10/2017            09/2017           08/2017            07/2017            06/2017        05/2017


           Rating                                                                                      X                  X              X
                                               120                120              120




           ONEMAIN FINANCIAL #60743903343 2"•••
           6801 COLWELL BLVD,C/S CARE DEPT
           IRVING, TX 75039
           (800) 922-6235




                                                                                                                                                                                             •

5 of 19                                                                                                                                                                        1/5/2018. 11 :47 PM
                         2:19-cv-03456-BHH                         Date Filed 06/04/21                     Entry Number 87-1                        Page 20 of 43
TransU nion                                                                                         https: //onli ned isp ute.transuni on.com/oda/od ic/searchln vesti gatio n/reso lu ...

                                                                                                                                                                       EXIIIBIT - D 3
             company inquiries, certain collection companies may have access to other collection company inquiries. and users of a report for employment purposes may have access to
             other employment inquiries. where permitted by law ).




                                                                                                                         BANK OF AMERICA
                                                                                                                         P.O. BOX 982238
                                                                                                                         EL PASO. TX 79998
                                                                                                                         (800) 421- 2110


                                                                                                                        Requested On :

                                                                                                                        10/09/2017




                                                                                                                         BANK OF AMERICA
                                                                                                                         4161 PIEDMONT PARKWAY
                                                                                                                         GREENSBORO. NC 27410
                                                                                                                         (800) 451- 6362


                                                                                                                         Requested On :

                                                                                                                         05/29/2Dl7




I 7 o f 19                                                                                                                                                                 1/5/20 18. 11 :47 PM
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1/21/2021                                                                Dispute Categories
                                                                                                              EXIIIBIT - D 3




TransUnion~

Review the information below to make sure it's accurate. If you want to dispute an item, select it and follow the
prompts. You can add multiple items before you submit your dispute. Questions about your dispute options? See our
FAQ.


B Personal Information
If you need to update your SSN or birth date, or add a new name, address or phone number, see our FAQ.
Your SSN has been masked for your protection.


  Credit Report Date

  01/21/2021

  Social Security Number

  XXX-XX- 7185

   Date of Birth

  09/28/1982

   Name

   NELSON L. BRUCE



Also Known As

                                                             You have no AKAs reported.



Addresses




 Phone Numbers


https://service .transunion.com/dss/disputeCategories.page                                                                1/21
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1/21 /2021                                                             Dispute Categories
                                                                                                                 EXHIBIT - D 3




   Name




Account Review Inquiries
The listing of a company's inquiry in this section means that they obtained information from your credit fi le in
connection with an account review or other business transaction with you. These inquiries are not seen by anyone but
you and will not be used in scoring your credit file (except insurance companies may have access to other insurance
company inquiries. certain collection companies may have access to other collection company inquiries. and users of a
report for employment purposes may have access to other employment inquiries, where permitted by law).


   Name




    BANK OF AMERICA

    Location                                            Requested On                        Phone
    PO BOX 982238                                       01/15/2021                          (800) 421-2110


    EL PASO, TX 79998


    CARRINGTON MORTGAGE SERV

    Location                                            Requested On                        Phone
    1610 EST ANDREWS                                    07/07/2020                          (800) 561-4567


    SANTA ANA. CA 92705




https://service .transunion .com/dss/disputeCategories.page                                                                17/21
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            EXHIBITS - D 4
             2:19-cv-03456-BHH                           Date Filed 06/04/21                          Entry Number 87-1                           Page 24 of 43


                                                                                                                                                                       EXHIBIT - D ➔




Consumer Name:                NELSON LEON BRUCE                                               Control Number:                 334959402171001




Date Received:                2017-05-11 02:22 :18                                            Originator:                     TransUnion
Response Code:                24:Consumer's dispute not specific. Consumer Information        Subscriber Code:                427S002
                              verified. Account information updated
Response Date :               05/26/2017                                                      DF Contact Number:
Response Due Date:            06/06/2017                                                      DF Authorized Name:             Abilash Kshatriya
Queue Name:
Dispute lnfonnation:
Dispute Code 1:                        112:Consumer states inaccurate information. Provide or confirm complete ID and account information .



Dispute Code 2:                        023:Claims account closed . Verify Date Closed , Compliance Condition Code and Special Comment Code .



FCRA Relevant Information :




   ., .
Associated Images:                     No
Image ID :                                                     I                                        I                     I                        I
Consumer Information:
                                                       Request Data                                               Response Data                                   Same/ Doff
Last Name:                    BRUCE                                                           BRUCE                                                    Same


First Name:                   NELSON                                                          NELSON                                                   Same
Middle Name:                  LEON                                                            L                                                        Different
Generation Code:
Prev. Last Name:              NELSON                                                                                                                   Unknown


Prev. First Name :            L                                                                                                                        Unknown
Prev. Middle Name:            BRUCE                                                                                                                    Unknown
Prev.Generation Code:
SSN :                                7185                                                                                                              Same
Date Of Birth :                      1982                                                                                                              Same
Telephone Number:                                                                                                                                          Unknown
ECOACode:                     1: Individual
Street Address:               144 PAVILION ST                                                 1605 Central Ave Suite 6 #167                                Different



City :                        SUMMERVILLE                                                     Summervlle
State:                        SC:South Carolina                                               SC:South Carolina


Zip:                          294838444                                                       29483
Prev. Street Address:         4501 HARBOUR LAKE DR APT 9G                                                                                                  Unknown



Prev. City :                  GOOSE CREEK
Prev. State:                  SC:South Carolina


Prev. Zip:                    294455927
2nd Prev. Street Address :    4118 GENESEE AVE



2nd Prev. City :              SAN DIEGO
2nd Prev. State:              CA:California


2nd Prev. Zip:                921112716
                                                                                                                                                                       3.34959E+14
Account lnformat1on:
                                                                      Request Data                                                         Response Data



Payment Rating :                        4:120 - 149 days past the due date                                        4:120 - 149 days past the due date




                                                                                                                                       Bruce 19cv3456 000120
           2:19-cv-03456-BHH                         Date Filed 06/04/21                     Entry Number 87-1                      Page 25 of 43


                                                                                                                                                           EXHIBIT - D 4


Cond. I Cum. Status :

CII :



MOP :


CCC :                           XB:Account information disputed by consumer under the Fair Credit     XR:Removes the most recently reported Compliance Condition
                                Reporting Act.                                                        Code.
sec:                            BO:Foreclosure proceedings started .                                  O:Account tra nsferred to another company/servcer.



Portfolio Type:                 M:Mortgage
Account Type:                   19:Federal Housing Administration (FHA) Real Estate Mortgage (Terms
                                Duration in years)

Interest Type Indicator:
Terms Duration:                 396                                                                   33
Terms Frequency:                M:Monthly
Date Opened :                   03/30/2009
Date of Account Information:    02/10/2017                                                            05/01 /20 17
Date of Last Pa yment:          07/06/2015
Date Closed:
FCRADOFD:                       08/01/2015                                                            08/01 /2015
Current Balance:                170312                                                                0
Amount Past Due:                19624                                                                 0
High Credit I Original Amt. :   161 385
Credit Limit :
Original Charge Off Amount:
Actual Payment:
Scheduled Monthly Payment:      1081                                                                  0
Original Creditor Name:


Creditor Classification:
Agency ID:
Sec. Mktg. Agency Acct Num :
Mortgage ID Number (MIN):                            6523
Specialized Payment Ind.:
Defrd. Payment Start Date:
Balloon Payment Amt. :
Balloon Payment Due Date:
Portfolio Indicator:
Purchased From / Sold To:


Narrative / Remarks:




Middle Name:
Generation Code:
 SSN :
Date Of Birth :
Telephone Number:
ECOA Code:




                                                                                                                           Bruce 19cv3456 000121
          2:19-cv-03456-BHH                             Date Filed 06/04/21                     Entry Number 87-1                            Page 26 of 43


                                                                                                                                                              EXHIBI T- D-'


Street Address:



City:
State:
Zip:
Submitted by:                       Abilash Kshatriya                                                                               !Date:      I0S/26/2017


By submitting th is ACOV, you certify that you have reviewed and considered all associated Images, you have verified the accuracy of the data in compliance with all
legal requirements , and your computer and/or manual records will be adjusted to reflect any changes noted.




                                                                                                                                 Bruce 19cv3456 000122
             2:19-cv-03456-BHH                           Date Filed 06/04/21                         Entry Number 87-1                            Page 27 of 43


                                                                                                                                                                        EXHIBIT-D-t




Consumer Name:                NELSON LEON BRUCE                                             Control Number:




Date Received:                2017-05-25 02:22 :03                                          Originator:                      TransUnion
Response Code:                24:Consumer's dispute not specific. Consumer Information      Subscriber Code:                 427S002
                              verified. Account information updated
Response Date :               06/13/2017                                                    DF Contact Number:
Response Due Date:            06/20/2017                                                    DF Authorized Name:              Abi lash Kshatriya
Queue Name :                  ISERIES
Dispute Information:
Dispute Code 1:                       023:Claims account closed . Verify Date Closed, Compliance Condition Code and Special Comment Code.



Dispute Code 2:                       112:Consumer states inaccurate information. Provide or confirm complete ID and account information.



FCRA Relevant Information :           the balance is zero




  ...                                 No
Associated Images:
Image ID:                                                     I                                       I                      I                          I
Consumer Information:
                                                       Request Data                                              Response Data                                     Same/ Doff
Last Name :                   BRUCE                                                         BRUCE                                                       Same


First Name :                  NELSON                                                        NELSON                                                      Same
Middle Name:                  LEON                                                          L                                                           Different
Generation Code :
Prev. Last Name:              NELSON                                                                                                                    Unknown

Prev. First Name:             L                                                                                                                         Unknown
Prev. Middle Name:            BRUCE                                                                                                                     Unknown
Prev.Generation Code :
SSN:                                 7185                                                                                                                   Same
Date Of Birth :                      1982                                                                                                                   Same
Telephone Number:                                                                                                                                       Unknown
ECOA Code:                    1:Individual
Street Address :              144 PAVILION ST                                                1605 Central Ave Suite 6 #167                              Different



City:                         SUMMER VI LLE                                                  Summerville
State:                        SC :South Carolina                                             SC:South Carolina


Zip:                          294838444                                                      29483
Prev. Street Address:         4501 HARBOUR LAKE DR APT 9G                                                                                               Unknown



Prev. City :                  GOOSE CR EEK
Prev. State:                  SC:South Carolina


Prev. Zip:                    294455927
2nd Prev. Street Address:     4118 GENESEE AVE



2nd Prev. City :              SAN DIEGO
2nd Prev. State :             CA:California


2nd Prev. Zip:                921112716
                                                                                                                                                                       3.34959E+14
Account Information :
                                                                      Request Data                                                      Response Data



Payment Rating :                       4: 120 - 149 days past the due date                                       6:180 or more days past the due date




                                                                                                                                     Bruce 19cv3456 000129
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                                                                                                                                                           EXHIBIT-D-'


Cond. I Cum. Status :


CII :



MOP:


CCC :                           XB:Account information disputed by consumer under the Fair Credit     XR:Removes the most recently reported Compliance Condition
                                Reporting Act.                                                        Code.
sec:                            BO:Foreclosure proceedings started.                                   O:Acccunt transferred to another company/servicer.



Portfolio Type :                M:Mortgage
Account Type:                   19:Federal Housing Administration (FHA) Real Estate Mortgage (Terms
                                Duration in years)

Interest Type Indicator:
Terms Duration:                 396                                                                   33
Terms Frequency:                M:Monthly
Date Opened :                   03/30/2009
Date of Account Information :   02/10/2017                                                            05/01 /2017
Date of Last Payment:           07/06/2015
Date Closed:
FCRADOFD:                       08/01/2015                                                            08/0 1/20 15
Current Balance :               170312                                                                0
Amount Past Due:                19624                                                                 0
High Credit/ Original Amt. :    161385
Credit Limit:
Original Charge Off Amount:
Actual Payment:
Scheduled Monthly Payment:      1081                                                                  0
Original Credi tor Name :


Creditor Classification :
Agency ID:
Sec. Mktg. Agency Acct Num :
Mortgage ID Number (MIN):                        6523
Specialized Payment Ind.:
Defrd. Payment Start Date :
Balloon Paym ent Amt. :
Balloon Payment Due Date :
Portfolio Indicat or:
Purchased From I Sold To:


Narrative I Remarks :




Middle Name:
Generation Code:
SSN :
Date Of Birth:
Telephone Number:
ECOA Code:
CII :




                                                                                                                           Bruce 19cv3456 000130
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                                                                                                                                                               EXHIBIT- D-'


Street Address:



City :
State:
Zip:
Submitted by:                       Abilash Kshatriy a                                                                               !Date :     106/13/2017


By submitting this ACDV, you certify that you have reviewed and considered all associated Images, you have verified the accuracy of the data in c ompliance w ith all
legal requirements , and your computer and/or manual records will be adjusted to reflect any changes noted.




                                                                                                                                  Bruce 19cv3456 000131
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                 EXHIBITS - D 5

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                                                                                             EXHIBIT - D !iTl
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STATE OF SOUTH CAROLINA                                IN THE COURT OF COMMON PLEAS                       o
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                                                                                                          r
COUNTY OF DORCHESTER                                      Cl A NO.: 20I6-CP-18-01678                      -<
                                                                                                          "Tl
                                                                                                          r
                                                                                                          m
Wilmington Savings Fund Society, FSB, as                                                                  0
Trustee of Stanwich Mortgage Loan Trust C,                          ORDER                                 N
                                                                                                           0
                                                                                                           N
                                                                                                           0
                    Plaintiff,                                                                             )>
                                                                                                          ....
                                                                                                          -0
                                                                                                          N
                                                                                                          N
    V.                                                                                                    co
                                                                                                          :i,;.
                                                                                                          .i,,.
Nelson L. Bruce; Capital Return Investments                                                               )>
                                                                                                          ~
LLC ; Charleston Area CDC; SC Housing
Corp.; South Carolina Housing Trust Fund ;                                                                0
                                                                                                          0
Reminisce Homeowners Association, Inc.,                                                                   :::0
                                                                                                          0
                                                                                                          I
                                                                                                          m
                                                                                                          (f)
                    Defendant(s) .                                                                        -I
17-004206                                                                                                 m
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                                                                                                          ~
         This matter came before the Court for a hearing on eight motions on March 12, 2020. The          0
                                                                                                          z
                                                                                                          -cJ
                                                                                                          r
Defendant Nelson L. Bruce ("Defendant") appeared, and William S. Koehler, Esq., appeared on               m
                                                                                                          )>
                                                                                                          (f)


behalf of Plaintiff. The Defendant had filed seven of the motions: Amended Motion/ Pre-Trial              0
                                                                                                          )>
                                                                                                          (f)
                                                                                                          m
                                                                                                          :;i:
Discovery, Motion/ Dismiss, Motion/Vacate March 23, 2018 Order, Motion/Dism iss September                  N
                                                                                                          0
                                                                                                          O'l
25, 2017 Order, Motion/Vacate September 15, 2017 Order, Motion/TRO and Motion/Stay                        0
                                                                                                          -cJ
                                                                                                           co
                                                                                                           0
Proceedings. Plaintiff had filed a Motion to Dismi ss Defendant' s Counterclaims and to refer the
                                                                                                           O'l
                                                                                                           --.J
                                                                                                           co
case to the Master in Equity.


                                       DEFENDANT'S MOTIONS


         With the exception of hi s Amended Motion for Pre-Trial Discovery, Defendant failed to

pay the $25.00 filing fee for any of his motions. When questioned by the Court on this issue,

Defendant stated that he did not believe that he is required to pay motion filin g fees. Defendant

further asserted that he would want to know how the County uses the proceeds from the moti on
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                                                                                              EXHIBI T - D :m
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filing fees before he would agree to pay the fees. Defendant offered no other explanation for his          0
                                                                                                           r►
                                                                                                           r
failure to pay the filing fees.                                                                            -<
                                                                                                           ::!:]
                                                                                                           r
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        S.C. CODE § 8-21-320 generally requires that a $25.00 filing fee be collected for every
                                                                                                           N
                                                                                                           0
                                                                                                           N
motion filed in the Court of Common Pleas. Defendant has not demonstrated any reason why he                0
                                                                                                           ►
                                                                                                           .,
                                                                                                          'O
                                                                                                           N
should be exempt from the general requirement imposed by state law.                                        N
                                                                                                           ex,
                                                                                                           '.p..
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        Therefore, Defendant' s Motion to Dismiss, Motion to Vacate the Court's March 23 , 2018            ►
                                                                                                           s:::
                                                                                                           0
Order, Motion to Dismiss the Court's September 25 , 2017 Order, Motion to Vacate the Court' s              0
                                                                                                           :::0
                                                                                                           0
September 15, 2017 Order, Motion for Temporary Restraining Order and his Motion to Stay                    I
                                                                                                           m
                                                                                                           Cf)
                                                                                                           --i
                                                                                                           m
Proceedings are hereby dismissed without prejudice. Defendant may re-file the motions provided             :::0

                                                                                                           0
he pays the associated fee with each motion.                                                               0
                                                                                                           s:::
                                                                                                           s:::
                                                                                                           0
        At hearing, Defendant informed the Court that he did not wish to proceed with the
                                                                                                           z
                                                                                                           -0
                                                                                                           r
                                                                                                           m
Amended Motion for Pre-trial Discovery at that hearing, so no action was taken on that motion.             ►
                                                                                                           Cf)


                                                                                                           0
Defendant' s Amended Motion for Pre-Trial Discovery is therefore continued.                                ►
                                                                                                           Cf)
                                                                                                           m
                                                                                                           :t;j:
                                                                                                           N
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                              PLAINTIFF'S MOTION TO DISMISS                                                0)
                                                                                                           0
                                                                                                           -0
                                                                                                           ex,
        Following the disposition of Defendant' s motions, Plaintiff argued its Motion to Dismiss          0
                                                                                                           __.
                                                                                                            0)
                                                                                                            ---1
                                                                                                            ex,
Plaintiff's Counterclaims.


        " [A] ruling on a motion to dismiss under Rule 12(b)(6), SCRCP, must be based solely on

the allegations contained in the complaint." Chewning v. Ford Motor Co., 346 S.C. 28, 32, 550

S.E.2d 584, 586 (Ct. App . 200 I) citing Baird v. Charleston County, 333 S.C. 519, 527, 51 I S.E.2d

69, 73 (1999). ·" Viewing the evidence in favor of the [non-moving party], the motion must be

granted if facts alleged in the complaint and inferences reasonably deductible therefrom do not

entitle the plaintiff to relief ... " Chewning v. Ford Motor Co. , 346 S.C. 28, 32, 550 S.E.2d 584,
  2:19-cv-03456-BHH           Date Filed 06/04/21        Entry Number 87-1          Page 33 of 43


                                                                                                  EXHIBIT- D ~      I
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586 (Ct. App. 200 I) citing Jarrell v. Petoseed Co., 331 S.C. 207, 209, 500 S.E.2d 793 , 794 (Ct.           0
                                                                                                            )>
                                                                                                            r
                                                                                                            r
App. 1998).                                                                                                 -<
                                                                                                            ::!]
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       Additionally, the well settled rule is thatfacls, and not legal conclusions, must be stated in
                                                                                                            N
                                                                                                            0
                                                                                                            N
pleadings ... Lowry v. Jackson, 27 S.C. 318, 323, 3 S.E. 473 , 477 (1887).         In reviewing the          0
                                                                                                             )>
                                                                                                            "O
                                                                                                             -,
                                                                                                            N
pleadings the Court is " not bound to accept as true a legal conclusion couched as a factual                N
                                                                                                            CX)
                                                                                                            :ii,.
                                                                                                            ~
allegation." Builder Mart of Am., Inc. v. First Union Corp. , 349 S.C. 500, 512, 563 S.E.2d 352,            )>
                                                                                                            s::
358 (Ct. App. 2002) citing Papasan v. Allain, 478 U.S. 265 , 286, I 06 S. Ct. 2932, 2944, 92 L. Ed.         0
                                                                                                            0
                                                                                                            ;o
                                                                                                            ()
2d                                            209                                            ( 1986).       I
                                                                                                            m
                                                                                                            (f)
        Defendant filed his Amended Response and Countersuit on September 23 , 2017.              The       -f
                                                                                                            m
                                                                                                            ;o

Caption to his Amended Response appears to identify counterclaims against the Plaintiff for libel,          ()
                                                                                                            0
                                                                                                            s::
slander, constructive fraud, violation of the Fair Debt Collection Practices Act, and a violation of        s::
                                                                                                            0
                                                                                                            z
                                                                                                            7J
TILA (presumably the Truth in Lending Act).                                                                 r
                                                                                                            m
                                                                                                            )>
                                                                                                            (f)

                                                                                                            ()
        Defendant' s Counterclaims for Libel and Slander                                                    )>
                                                                                                            (f)
                                                                                                            m
                                                                                                            :i:t
                                                                                                            N
       The Defendant lists counterclaims for Libel and Slander in the caption of his Amended                0
                                                                                                            O'l
                                                                                                            ()
Response and Countersuit. Further, in the body of his response, Defendant states that "the state            7J
                                                                                                            CX)
                                                                                                            0_.

of South Carolina has laws against libel and slander, and I bring forth my claim for such ... "             O'l
                                                                                                            ---.I
                                                                                                            CX)




        Under South Carolina law, " [t]he tort of defamation allows a plaintiff to recover for injury

to her reputation as the result of the defendant's communication to others of a false message about

the plaintiff.   Slander is a spoken defamation while libel is a written defamation or one

accompanied by actions or conduct." Holtzscheiter v. Thomson Newspapers. Inc. , 332 S.C. 502

(1998). To recover on a defamation claim, a claimant must establish I) a false and defamatory

statement was made; 2) the unprivileged publication of the statement was made to a third-party;
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3) the publisher of the statement was at fault and 4) the statement is acti onable. Fountain v. First          0
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Reliance Bank, 398 S.C. 434 730 S.E.2d 205 (2012).                                                             -<
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       Defendant ' s pleadings do not allege an y specific spoken defamatory statement made by
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the Plaintiff or any publication of statement to third parties. Therefore his claim for slander must           0
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be dismissed.                                                                                                  N
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        Further, Defendant' s pleadings do not identify any specific libelous statements beyond                )>
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what he refers to as " information on this public record ." The Court is unable to determine from              0
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the pleadings what libelous statements Plaintiff could be referring to unless the Defendant is                 I
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referring to the filing of the pleadings in this action. To the extent that the libelous statements to         m
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which Defendant refers are contained within the Lis Pendens, Summons and Complaint, or an y                    0
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other filed pleadings in this matter, Defendant' s claim must be dismissed. The filing of those                z
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pleadings are absolutely privileged under South Carolina law and cannot be considered to be                    m
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libelous:                                                                                                      0
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        South Carolina has long recognized that relevant pleadings, even if defamatory, are                    0
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        absolutel y privileged . McKesson & Robbins v. Newsome, 206 S.C. 269, 33 S.E.2d                        0
        585 (1945) ; Texas Co. v. C. W. Brewer & Co ., 180 S.C. 325, 185 S.E. 623 ( 1936);                     lJ
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        Rodgers v. Wise, 193 S.C. 5, 7 S.E.2d 517 (1940) ; Sanders v. Rollinson , 33 S.C.                      0

        Law (2 Strob.) 44 7 ( 1848) (stating an action for slander based on a defamatory                       O'>
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        affidavit was a non-suit; the proper attack is under malicious prosecution) ; accord
        Lone v. Brown, 199 NJ.Super. 420, 489 A.2d 1192, 1195 (App.Div.1985) (" It is
        well established that statements, written or oral, made by judges, attorneys,
        witnesses, parties or jurors in the course of judicial proceedings, which have some
        relation thereto, are absolutely privileged from slander or defamation actions, even
        if the statements are made with malice."); Kropp v. Prather, 526 S.W.2d 283 , 286
        (Tex.Civ .App.1975) (" Any communication, oral or written, uttered *24 or
        published in the due course of a judicial proceeding is absolutely privileged and
        cannot form the basis for a cause of action in libel or slander.").
        Pond Place Partners. Inc. v. Poole, 351 S.C. I, 23-24, 567 S.E.2d 881 , 893 (Ct. App. 2002)


Therefore, it is appropriate to dismiss Defendant' s Counterclaims for Libel and Slander.
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                                          Constructive Fraud                                                       r
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         Defendant includes Constructive Fraud in its caption as a counterclaim.            To establish
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constructive fraud , all elements of actual fraud except the element of intent must be established ... ln
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order to prove actual fraud, the following elements must be shown: (I) a representation; (2) its                   N
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falsity; (3) its materiality; (4) either knowledge of its falsity or a reckless di sregard of its truth or
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falsity; (5) intent that the representation be acted upon ; (6) the hearer's ignorance of its falsity; (7)         0
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the hearer's reliance on its truth ; (8) the hearer's right to rely thereon; and (9) the hearer's                  I
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consequent and proximate injury." Pitts v. Jackson Nat. Life Ins. Co .. 352 S.C. 219, 333 (Ct.App.                 m
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1993). A complaint is fatally defective if it fails to allege all nine elements of fraud. Where the                0
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Complaint omits allegations on any element of fraud , the trial cou11 should grant a motion to
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dismiss. Id.                                                                                                       m
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         Defendant's pleadings fail to specify what false representations the Plaintiff has made and ,
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among other things, how the Defendant would have relied on the truth of these allegedly false                       N
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representations to his detriment. Defendant has therefore failed to plead a cause of action for                     ""Cl
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Constructive Fraud and this counterclaim must be dismissed .                                                        O">
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                         Violation of the Fair Debt Collection Practices Act


         Defendant's Amended Response appears to assert that Plaintiff has violated the Fair Debt

Collection Practices Act (FDCPA), but Defendant has not pleaded sufficient facts to support that

claim.


         The FDCPA only applies to debt collectors.          Assuming Plaintiff is collecting a debt,

Plaintiff is the holder of the Note and the legal title owner of the Mortgage, so it is not collecting
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the debt of another. As the U.S. Supreme Court has stated, ·'you have to attempt to collect debts            c5
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owed another before you can ever qualify as a debt collector." Henson v. Santander Consumer                  -<
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USA Inc., I 37 S. Ct. 17 I 8, 1724, 198 L. Ed. 2d 177(2017) (Emphasis in original.)                          0



       Further, Plaintiff's foreclosure action with a waiver of deficiency is not collection of a debt.

It has waived deficiency and is seeking only to foreclose its security interest in the property.

Enforcing a security interest in real estate is not the collection of a debt. The FDCPA is designed

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                                            Conspiracy                                                       0
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       Defendant Response purports to assert a counterclaim for Conspiracy. "A civil conspiracy              m
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consists of three elements: (I) A combination of two or more perso ns, (2) for the purpose of
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injuring the plaintiff, (3) which causes the plaintiff special damages" Hammond v. Butler, Means,            s:::
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Evins & Brown, 300 S.C. 458, 463 , 388 S.E.2d 796, 798 (1990). Defendant has not alleged facts
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to support any of the elements. In his claim he states "the opposing parties" . There are no opposing        (/)

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parties, only the Plaintiff. There is no combination of two or more persons, which is an essential           (/)
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element of the cause of action.                                                                              0
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       Defendant has not pleaded facts showing any parties have come together for the purpose                co
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of injuring Plaintiff.   Additionally, Defendant has not pleaded special damages.           Rule 9(g),       co

SCRCP, requires "when items of special damage are claimed, they shall be specifically stated." In

AJG Holdings LLC v. Dunn, the Court of Appeals stated, "To prove spec ial damages, [claimaints]

had to show that the acts in furtherance of the conspiracy were separate and independent from

other wrongful acts alleged in the complaint. See Todd v. S.C. Farm Bureau Mut. Ins. Co. , 276

S.C. 284, 293 , 278 S.E.2d 607, 611 (1981 ). Special damages must be properly pied , or the claim

for civil conspiracy will be dismissed. Hackworth v. Greywood at Hammett, LLC , 385 S.C. 110,
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115-16, 682 S.E.2d 871 , 875 (Ct.App.2009) ; see also Rule 9(g), SCRCP (requiring special                    0
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damages to be specifically stated in the pleadings). AJG Holdings LLC v. Dunn, 392 S.C. 160,                 -<
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167-68, 708 S.E.2d 218, 222-23 (Ct. App.2011 ), affd, 410 S.C. 346, 764 S.E.2d 912(2014)                     0
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       The AJG Court cited the Hackworth case, wh ich makes it clear that dismissal is appropriate            0
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when special damages are not properly pleaded. The Defendant's claims for conspiracy should be                N
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       Defendant has included a counterclaim for " Violation of TILA" in the caption of his                  (/)
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Amended Response. The reference would appear to be to the Truth in Lending Act. However,
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Defendant has not pleaded any specific facts related to a violation of this act. Therefore, the              s::
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Defendant's Counterclaim must be dismissed.
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       In relevant part Rule 53(b) provides: " In an action ... for foreclosure , some or all of the         0)
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causes of action in a case may be referred to a master." Rule 71 (a) adds: " Actions to foreclose            co
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liens or obtain partition ofreal property shall be tried by the court, and shall ordinarily be referred       co


to a master pursuant to Rule 53."


       Defendant has sought a jury trial. "A mortgage foreclosure is an action in equity." U.S.

Bank Trust Nat' ! Ass' n v. Bell , 385 S.C. 364, 373, 684 S.E.2d 199, 204 (Ct. App. 2009).

"Generally, the relevant question in determinin g the right to trial by jury is whether an action is

legal or equitable; there is no right to trial by jury for equitable actions." Lester v. Dawson. 327

S.C. 263 , 267, 491 S.E.2d 240, 242 (1997) .
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          This foreclosure action is proper to be referred, and Defendant does not have a right to a     0
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jury trial.                                                                                              -<
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     1.       Defendant' s Motion to Dismiss, Motion to Vacate the Court' s March 23 , 2018 Order,        ►
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              Motion to Dismiss the Court' s September 25 , 2017 Order, Motion to Vacate the Court's     00
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              September 15, 2017 Order, Motion for Temporary Restraining Order and his Motion            ►
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              to Stay Proceedings are hereby D[SMISSED for failure to pay the required motion fees.      0
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    2.        Defendant's Amended Motion for Pre-Trial Discovery is hereby CONTINUED.                    m
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    3.        Plaintiff's Motion to Dismiss Defendant' s Counterclaims is GRANTED, and the               ::0
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              Defendant' s Counterclaims are DISMISSED ; and                                             0
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    4.        This matter is referred to The Honorable James E. Chellis as Master in Equity for          z
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               EXHIBITS-E
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                                                                                            EXHIBIT- E


Record/FILE ON DEMAND

                           UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 FLORENCE DIVISION


                                   )
Nelson L. Bruce, Sui Juris         )               Case No.: 2:19-cv-03456-BHH-KDW
                                   )
              Plaintiff(s),        )               SWORN DECLARATION OF Nelson L.
                                   )               Bruce IN SUPPORT OF OPPOSITION TO
       vs.                         )               DEFENDANTS MOTION FOR SUMMARY
                                   )               JUDGMENT
BANK OF AMERICA, N.A. (A.K.A. BANK )
OF AMERICA), et al.                )
                                   )
              Defendant( s)         )
                                    )
                                    )
                                    )
________________                   .)

I, Nelson L. Bruce, Sui Juris, a natural man above the age of 18, of the age of the majority,

declare that:

1. I am the Plaintiff in this action, and I have personal knowledge and firsthand knowledge of

    each fact stated in this declaration.

2. The property of which I am located at is 144 Pavilion Street, Swnmerville, SC 29483.

3. BANA has never produced any verified proof signed under penalty of perjury by a person

    with firsthand knowledge evidencing that I received a lawful loan of money from any alleged

    lender/creditor, the ledgers of the account and accounting nor where the funds came from

    that initially funded the alleged mortgage loan transaction.

4. BANA has never produced any evidence which identifies what species of money the funds

    were lent in and if it was disclosed to me under a meeting of the minds.




                                            Page 1 of 3
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                                                                                              EXHIBIT- E


5. None of the sworn declarations produced by the defendant's in support of their motion for

     summary judgment documents that BANA nor any other referenced party was physically

     present at closing to be able to speak on the signing of any paperwork related to the initial

     alleged mortgage loan from 03/30/2009.

6. I receive a "Notice of Sale of Ownership of Mortgage Loan" dated 04/10/2017 from

     Carrington Mortgage Services, LLC ("Carrington"), Notifying me that:

          •    The Loan was sold on 03/13/2017 to the New Creditor, Wilmington Savings Fund

               Society FSB ("Wilmington") as trustee of Stanwich Mortgage Loan Trust C;

          •    The prior Loan Number was 202985786 and the current Loan Number is

               7000124554;

          •    That Carrington is the servicer of the loan who acts on behalf of the new creditor to

               handle the ongoing administration of the loan including collection of the mortgage

               payments.

7.   I receive a "NOTICE OF SERVICING TRANSFER" dated 05/10/2017 from Carrington

     stating that (Exhibit - D 1):

           •   Carrington is the New Servicer;

           •   The servicing of the mortgage loan is being transferred effective 05/02/2017. That

               after this date, Carrington Mortgage Services, LLC ("CMS") will be collecting

               mortgage loan payments from me going forward after 05/01/2017.

           •   Bank of America, N.A. (BANA) will stop accepting payments after 05/01/2017.

8. I pulled my Transunion Consumer Credit Report on 01/04/2018 which identifies the Date

     BANA closed the account, last day date the mortgage account was reported which was

     04/2017, and the dates BANA requested my consumer reports for review of an account. It

     also identifies the Date Carrington started reporting the mortgage account transferred to them
                                              Page 2 of 3
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                                                                                            EXHIBIT- E


   which is 05/2017 (Exhibit - D 3).

9. I pulled my Transunion Consumer Credit Report on 01/21/2021 which identifies that

   Carrington as the New Servicer has the same access the BANA has to do an review and

   collection of an account (Exhibit - D 3).

10. The copies of the Automated Credit Dispute Verification (ACDV) I received from BANA

   during discovery identifies a review of the current consumer information that was currently

   being reported at the time of the Transunion disputes (Exhibit - D 4).

11. I received multiple versions of the alleged mortgage Note from both BANA and Carrington

   as referenced in my opposition to defendant's motion for summary judgment;


I hereby certify that the foregoing is true and correct so help me God.


Executed this



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                                                                                              ~
                                                                        Nelson L. Bruce
                                                                             c/o 144 Pavilion Street
                                                                Summerville, South Carolina [29483]




                                               Page 3 of 3
